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 4      Entered on Docket
  ___________________________________________________________________
      August 25, 2022
 5                           UNITED STATES BANKRUPTCY COURT

 6                                     DISTRICT OF NEVADA

 7                                      ******
     In re:                              )  Case No.: 19-12981-MKN
 8                                       )  Chapter 13
 9   JOANNE W. ENG,                      )
                                         )
                                            Settlement Conference
10                  Debtor.              )  Date: December 13, 2022
                                         )  Time: 9:30 a.m.
11                                       )
     ____________________________________)  Briefs Due: December 2, 2022
12

13                    ORDER SCHEDULING SETTLEMENT CONFERENCE
14         At the request of the parties and good cause appearing,
15         A settlement conference is hereby ordered to commence on December 13, 2022, at 9:30
16 a.m., regarding the Motion to Determine Contempt of Court Pursuant to 11 U.S.C. Sections 105

17 and 362 and Request for Punitive Damages, Attorney’s Fees and Sanctions (ECF No. 54), before

18 U.S. Bankruptcy Judge Paul Sala (“Settlement Conference Judge”) by remote appearance via

19 “Zoom” or teleconference. A Courtroom Deputy will email participants a link to the video

20 conference/teleconference provider five (5) days prior to the settlement conference which

21 will include the necessary information to connect for remote participation.

22 A.      DEADLINES
23         1. Exchanging Written Settlement Offers: The parties shall exchange written
24 settlement offers no later than ten (10) business days before the settlement conference.

25         2. Settlement Conference Brief: Each party shall submit a confidential settlement
26 conference brief (“Settlement Conference Brief”) via email to the Settlement Conference Judge

27 for review no later than seven (7) business days (December 2, 2022) before the settlement

28 conference. See: Section “C” on page 3 of this Order for instructions.
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 2 B.      SETTLEMENT CONFERENCE BRIEF

 3         The purpose of the Settlement Conference Brief is to assist the Settlement Conference

 4 Judge in preparing for and conducting your settlement conference. Therefore, your utmost

 5 candor is required.

 6         Your Settlement Conference Brief shall be no longer than ten (10) double-spaced pages,

 7 and it must contain the following:

 8         1.     A brief statement of the nature of the action;

 9         2.     A concise summary of the evidence that supports your theory of the case,

10                including information documenting any claim for damages. You may attach a

11                limited number of documents or exhibits, not to exceed a total of 50 pages, that

12                are especially relevant to key factual or legal issues;

13         3.     A brief analysis of the key issues involved in the litigation;

14         4.     A discussion of the strongest points in your case, both legal and factual, and a

15                frank discussion of the weakest points as well. The court expects you to present a

16                candid evaluation of the merits of your case;

17         5.     A further discussion of the strongest and weakest points in your opponent=s case,

18                but only if they are more than simply the converse of the weakest and strongest

19                points in your case;

20         6.     Your most recent settlement offer and a history of settlement discussions, which

21                details the demands and offers that have been made. Include the reasons any

22                demands or offers have been rejected;

23         7.     The settlement proposal that you believe would be fair; and

24         8.     The settlement proposal that you would be willing to make in order to conclude

25                this matter and stop the expense of litigation.

26 C.      SUBMITTING THE SETTLEMENT CONFERENCE BRIEF

27         The court will strictly maintain the confidentiality of each Settlement Conference Brief

28 submitted in accordance with the terms of this Order. Observe the following rules for submitting

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 1 the Settlement Conference Brief to the Settlement Conference Judge:

 2         1.      Email: a PDF of the hard copy to Judge Sala’s chambers, at

 3                 Paul_Sala@azb.uscourts.gov as well as Leslie_Hendrix@azb.uscourts.gov with a

 4                 caption in the heading, “CONFIDENTIAL SETTLEMENT BRIEF [NAME OF

 5                 CASE/ADVERSARY].”

 6         2.      DO NOT ELECTRONICALLY FILE with the court.

 7         3.      DO NOT serve a copy on opposing counsel.

 8         4.      DO NOT mail it.

 9         5.      DO NOT deliver it to the Clerk’s Office.

10         Sanctions will be imposed for Settlement Conference Briefs not submitted in compliance

11 with this Order.

12 D.      ATTENDANCE REQUIREMENTS

13         All counsel of record who will be participating in the trial of this case, or evidentiary

14 hearing, all parties appearing pro se, if any, and all individual parties must be present. In the

15 case of non-individual parties, counsel shall arrange for a representative with binding authority to

16 settle to be present in court for the duration of the settlement conference. Any requested

17 exception to the attendance requirements must be submitted to the Judge assigned to this case for

18 approval in advance of the settlement conference.

19         Failure to appear will result in the imposition of sanctions.
     E.    VACATING OR CONTINUING A SETTLEMENT CONFERENCE, OR
20
           INFORMING THE COURT THAT THE MATTER HAS SETTLED
21         The parties must notify the courtroom deputy of the Judge assigned to the case. The
22 settlement conference shall not be continued or vacated without prior approval of the Judge

23 assigned to the case.

24         To vacate, to request a continuance, or to inform the court that the matter has been
25 settled, the parties must upload a stipulation and proposed order. The order must be signed by

26 the Judge assigned to the case before the settlement conference is removed from calendar.

27 F.      FOLLOW UP STATUS CONFERENCE
28         A follow-up status conference is currently scheduled to be held in the above-

                                                     3
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 1 referenced proceeding on January 4, 2023, at 2:30 p.m., before U.S. Bankruptcy

 2 Judge Mike K. Nakagawa by telephonic appearance. Absent further order of the court, the

 3 parties must participate and appear telephonically in the status conference by dialing (669) 254-

 4 5252; Meeting ID: 161-062-2560; Passcode: 029066. Instructions for appearing via telephone

 5 are available on the court’s website at www.nvb.uscourts.gov/news-

 6 rss/announcements/2020/0319-court-hearing-participation/.

 7         IT IS SO ORDERED.

 8
     Copies sent via CM/ECF ELECTRONIC FILING
 9

10 Copies sent via BNC to:
   JOANNE W. ENG
11 9727 RIDGEBLUFF AVE.
   LAS VEGAS, NV 89148
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